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wa CT Corporation Service of Process
oe Transmittal
02/27/2012
CT Log Number 520041786
TO: Legal Intake B6.263B
Sears, Roebuck and Co,
3333 Beverly Road
Hoffman Estates, IL 60179-

RE: Process Served In Tennessee

FOR: Kmart Corperation (Domestic State: Ml)

ENGLOSED ARE COPIES OF LEGAL PROCESS RECERVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY 45 FOLLOWS:

TITLE OF ACTION: Michelle M. Lane, Pltf, ys. K-Mart Corporation, Dft,
Name discrepancy noted.
DOCUMENT(S) SERVED: Surmmans, Complaint
COURTIAGENCY! Knox County Chancery Court, TN
Case # 1822663
MATURE OF ACTION: Employee Litigation - Harassment - Plaintiff was employee of the defendant's

company, during the taring she was sexually harassment and misbehave form the
defendant company and #r, Michael Johnsen,

OW WHON PROGESS W4S SERVED: CT Corporation System, Knoxville, TN

OATE AND HOUR OF SERVICE: By Process Server on 62/27/2042 at 10:29

JURISDICTION SERVED : Tennessee

APPEARANCE OR ANSWER DUE! Within 30 days after service of the summons, exclusive of the date of service
ATTORNEY(6) / SENDER(S}: Peter Allimari

White, Carson & Alliman, PC,
135 College Street
Macisonville, TN 37354

423-442-9000)
ACTION IFEN9: CT has retained the current log, Retain Date: 02/27/2012, Expecled Purge Date:
03/03/2012
Image SOP
Email Notification, Legal Intake B6-263B legalint@searshc.com
SIGNED: CT Corporation System
PER: Amy McLaren
ADDRESS: 800 S. Gay Street
Suite 262
Knoxvilie, TN 37929-9710
TELEPHONE: 800-592-9023

 

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Information displayed on this cransmitinl ts for CT Corporation's
record Keeping purposes only and [s provided no the -eciplenr for
quick reference, This information dacy not conslilute wu legal
opinion as to the nature of action, the amount of darages, the
answatr date, or ary intormation contalned i the documents
themselves. Reciplent is responsible tor inte preting sald
documents and for Lak'ng appropriate action. Signatyrey cn
certified mall receipts contre eeceipt of package only, nol
contents,

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E CHANCER RTFOR KNOX COUNTY, T E
MICHELLE M. LANE, )
Plaintiff, ee
MGI2FEB Zt: Pi hs $0
¥. } NO, 182266-3
) OTA LR
K-MART, CORPORATION, ) er AIS
Defendant. )

a ADA

To the above named Defendant: K-MART Corporation
Whose agent for service of process is ( FOR ASSISTANCE CALL

CT. ¢ ion § ; 1 § =
eee Ab B65 / 215-2052

Knoxville, TN 37929-9710 TTY: 865/215-2497

You are hereby summoned and required to serve upon Robert L. Jolley, Jr., Plaintiff's attorney, whose address is 800 S. Gay
Street, Suite 2100, Knoxville, Tennessee 37929, an answer to the complaint herewith served upon you within 30 days after service of
this summons upon you, cxclusive to the day of service, and file a copy of the answer within flve (5) days after answer is made, If you
fai] to do so, judgment by default can be taken against you for the relief demanded in the Complaint,

Issued and lested ail day ot Fela tuss 2012,
cunt COs

CN fog.

DEPUTY CLERK

 

Received this day of , 2012,

 

SHERIFF-DEPUTY SHERIFF

NOTICE

To the Defendant(s): Tennessee law provides a four thousand dallar ($4,000.00) personal property exemption from execution
or seizure to satisfy a judgment Ifa judgment should be entered against you in this action and you wish to claim property as exempt,
you must file a written list, under cath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any
time and may be changed by you thereafler as necessary; however, unless it is filed before the judgment becomes final, it will not be
effective as to any execution, or gamishment tssued prior to the filing of the list. Certain items are automatically exempl by !aw and do
not need to be listed; these include items of necessary wearing apparel for yourself and your family and trunks or other receptacles
necessary to contain such apparel, family portraits, the family Bible, and schoal books. Should any of these iterns be scized, you would
have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to sesk the counsel
ofa lawyer,

RET ON Ee UM s

I hereby certify and return that on the day of , 2012, 1 served this summons and a complaint herein as
follows:

 

 

SHERIFF - DEPUTY SHERIFF

THIS SUMMONS [S ISSUED PURSUANT TO RULE 4 OF THE TENNESSEE RULES OF CIVIL PROCEDURE

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IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE

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wm TN

MICHELLE M., LANE,
3416 Garden Drive
Knoxville, Tennessee 37918

Plaintiff,
VS. No. 182266-3

k-MART CORPORATION, JURY DEMANDED

whose agent for service of process is
C.T. Corporation System,
800 S. Gay Street, Suite 2021

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Knoxville, Tennessee 37929-9710 )
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Defendant.

FIRST AMENDED AND RESTATED COMPLAINT
Comes the Plaintiff, pursuant to Rule 15.01 T.R.Civ.P., no responsive pleading having
been filed, and amends her Complaint as a matter of right as follows:
I, INTRODUCTION |
1, This is an action by Michelle M. Lane, a female, former employee of the
Defendant for back pay, front pay, compensatory damages, punitive damages, declaratory and
injunctive relief arising from the unlawful employment actions of the Defendant op account of

Plaintiff's sex in violation of T.C.A. §§ 4-21-301(1) and 4-21-40}, et seq.

I. PARTIES
2. The Plaintiff is a female, single mother, a citizen and resident of Knox County,

Tennessee and was at all times relevant an employee of the Defendant,
3. Defendant K-Mart Corporation is a foreign corporation whose agent for service

is listed above,

 

 

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Ul. FACTS

4, Plaintiff began employment with K-Mart as a loss prevention officer in July,
2010.

5. Plaintiff was originally told she would receive $9.75 per hour, however, after she
accepted the job, was only paid $9.25 per hour.

6. Plaintiff was the sole female loss prevention officer in her district,

7. The loss prevention training course conducted by the Defendant was taught by
Michael Johnson who, during the training, informed Plaintiff how violent he was, how he
enjoyed beating people up and told Plaintiff “don’t ever throw me under the bus because the bus
will run back over you”,

8. During her training, where she was the sole female trainee, some of the other
trainees would tell sexually oriented, inappropriate jokes and display photos of naked women,
These activities made Plaintiff uncomfortable and after it continued, Plaintiff requested the
activities cease.

9. After compieting training, Plaintiff requested an explanation about the
discrepancy in her pay from her supervisor, Charles Simms, who informed her he would see that
she would receive an increase if she performed well, Plaintiff did perform well, but never
received a pay increase.

10. In early November, 2010 and continuing thereafter, Plaintiff began receiving
sexually harassing and explicit telephone calls from Michael Johnson,

[1. When Plaintiff informed other employees of the calls, she was told to report them .

 

 

 

 

 

 

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to management, but was afraid to do so because of Johnson’s reputation and for fear such a
report would adversely affect her job.

12, | When the calls from Johnson continued, one of Plaintiffs co-employees reported
them to Plaintiffs supervisor in early December, 2010.

13. When the supervisor contacted Plaintiff, Plaintiff told him how she was afraid of
Johnson and afraid a complaint by her would adversely impact her employment.

14.‘ The supervisor assured Plaintiff she woutd be protected and Johnson would have
ne more contact with her.

15. The supervisor requested Plaintiff give a written and oral statement about the
events, which Plaintiff did in early December, 2010.

16. Several weeks passed and Plaintiff continued to receive harassing telephone calls
from Johnson.

17. On December 26, 2010, Plaintiff contacted the supervisor to inform him Johnson
was still harassing her.

18. The supervisor informed her he had not yet contacted Johnson, but would soon
and tell Johnson to have no further contact with Plaintiff.

19, The harassing telephone calls continued through most of January, 2011.

20. In late January, 2011, the supervisor told Plaintiff he had talked to Johnson and
instructed him to have no further contact with Plaintiff.

21. On February 1, 2011, the supervisor interviewed Plaintiff about allegations
Johnson had made.

22. Oa March 4, 2011, the supervisor contacted Plaintiff and informed her she was

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being terminated.

23. When Plaintiff asked why, the supervisor told her he did not know, but told her
to contact Defendant’s human resources department.

24, —‘ Plaintiff was then escorted from the store.

25. When Plaintiff contacted the human resources department, sbe was told she bad
been terminated for violating company policy. When Plaintiff asked what company policy she
had violated, Plaintiff was told, “the only way you will know is if you get an attorney.”

26, Throughout her employment with Defendant, Plaintiff was an excellent
employee, never received a reprimand, warning or discipline and met or exceeded all goals set
for her.

27. Because of the actions of the Defendant, Plaintiff has suffered actual injury,
economic damages, lost wages, physical injury, humiliation, embarrassment, mental and
emotional distress, and other consequential damages.

28. The actions of Defendant were willful, wanton, intentional and malicious.

IV. CAUSE OF ACTION

29. The actions of the Defendant as set out above violated T.C.A. § 4-21-40] (a)(1).

30, The actions of the Defendant as set out above violated T.C.A. § 4-21-401(a)(2),

31. The actions of the Defendant as set out above violated T.C.A. § 4-21-301(1).

Vv. PRAYER FOR RELIEF

32. Plaintiff respectfully requests that this Court:

a, enter a declaratory judgment, pursuant to T.C.A. § 29-14-102, that Defendant’s

actions as complained of above were unlawful discrimination against Plaintiff on account of her

 

 

 

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sex and was a violation of T.C.A. § 4-21-401(a) and 4-21-301(1).

b. issue a mandatory injunction directing Defendant to reinstate Plaintiff to the
position she would have occupied absent the discrimination;

c. issue a prohibitory injunction to enjoin Defendant from further acts of
discrimination against the Plaintiff in the future;

d. enter a judgment against the Defendant and in favor of the Plaintiff in the amount
of back pay and, if appropriate, front pay owed to the Plaintiff, together with prejudgment
interest thereon at the applicable adjusted prime rates from the date on which such wages should
have been paid; post-judgment interest, and all other benefits incident to the position to which
Plaintiff would have occupied, including, but not limited to, all increases and other appropriate
adjustments to Plaintiff's retirement account;

é. enter a judgment against the Defendant in favor of the Plaintiff for all out-of-
pocket expenses and incidental financial losses incurred by Plaintiff on account of the
Defendant’s unlawful and discriminatory employment practices as complained of above;

f. enter a judgment against the Defendant and in favor of the Plaintiff for actual and

compensatory damages in an amount sufficient to compensate hey for the injuries she incurred;

g. enter a judgment against Defendant and in favor of Plaintiff for punitive
damages;
h. enter a judgment for the Plaintiff for her reasonable attomey fees and costs

pursuant to T.C.A. § 4-2]-311;
i, empanel a jury to try this matter;

j. award the Plaintiff such other and further general relief as she may show herself

 

 

 

 

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entitled to upon a hearing of this cause.

WHITE, CARSON & ALLIMAN

 

BY: Ls Ataggee
PETER ALLIMAN, BPR # 5984/7 Lr
Attorney for Plaintiff
135 Coliege Street South
Madisonville, Tennessee 37354
Telephone: (423) 442-9000

 
    

 

 

ROBERT L. JOLLE .» BPR # 404707
Attorney for ree
800 S. Gay Street, Suite 2100
Knoxville, Tennessee 37920-9700
Telephone: (865) 521-0963
COST BOND

We, the undersigned principal and surety, acknowledge ourselves for al] costs in this

Cause,

 

218.)2d

 

 

 

 

 

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